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To whom it may concern,

We have been blessed in many ways. First we are blessed with our youngest son Michael who has
Trisomy 21 (commonly referred to as Down Syndrome). We have also been bless to know Michael
Lopatic. Mr. Lopatic is a kind and good man. We have seen this kindness especially when he has
interacted with our son Michael.

Mr. Lopatic is an usher at St. Mary’s Roman Catholic Church in Lancaster, PA. We first met Mr.
Lopatic when we visited St. Mary’s several years ago to attend mass. Our son Michael took to Mr.
Lopatic right away. He was drawn to him as he often is to kind and friendly souls. He enjoyed Mr.
Lopatic’s beard and how tall he is. Mr. Lopatic wasted no time and invited Michael to join him in his
usher duties. He carried Michael about ensuring all whom they saw were able to meet Michael.

A few years later, we saw Mr. Lopatic at a party celebrating the recovery of our niece from
cancer. Our son Michael recognized Mr. Lopatic and ran to him without haste. Mr. Lopatic was
overjoyed to see Michael and hoisted him high with a big hug and once again carried him around,
meeting all the guests.

Mr. Lopatic has always seen Michael for who he is, a true child of God. Michael has always seen Mr.
Lopatic for who he is, a kind and friendly soul.

Thank you for your time.

Mary and Brendan Corrigan
West Bradford, PA




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